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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION



                                         *
UNITED STATES OF AMERICA,
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                                         *
      v.                                       01: 16-CR-00006-11-ELR-AJB
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                                         *
GREGORY LANDON SMITH,
                                         *

                                         *
            Defendant.
                                         *




                                   ORDER



      This matter is before the Court for consideration of Magistrate Judge Alan J.


Baverman's Report and Recommendation ("R&R") [Doc. 489] that Defendant's


Motion to Suppress Seizure and Search [Doc. 237] be denied.      In the time period


allotted for the parties to object to the R&R, Defendant, by and through counsel,


filed objections [Doc 497]. For the following reasons, the Court ADOPTS the R&R


and OVERRULES Defendant's objections.


I. Standard of Review


      The district court reviewing an R&R "shall make a de nova determination of


those portions of the report or specified proposed findings or recommendations to


which objection is made."    28 U.S.C. § 636(b)(1 ).   If neither party objects, the


district judge need only review the R&R for clear error and "may accept, reject, or
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modify, in whole or      m   part, the findings or recommendations made by the


magistrate judge." Id.   A party objecting to an R&R "must specifically identify


those findings objected to. Frivolous, conclusive, or general objections need not be

                                                                                        h
considered by the district court." United States v. Schultz, 565 F.3d 1353, 1361 (11t

                                                              h
Cir. 2009) (quoting Marsden v. Moore, 847 F.2d 1536, 1548 (11t Cir. 1988))


(internal quotation marks omitted.).   If there are no specific objections made to


factual findings made by the magistrate judge, there is no requirement that those

                                                                           h
findings be reviewed de novo. Garvey v. Vaughn, 993 F.2d 776, 779 n. 9 (11t Cir.


1993).   In accordance with 28 U.S.C. § 636(b)( l )(C), and Rule 59 of the Federal


Rules of Criminal Procedure, the Court has conducted a de nova review of those


portions of the R&R to which Defendant objects and has reviewed the remainder of

                                                                              h
the R&R for plain error. See United States v. Slay, 714 F.2d 1093, 1095 (1 l t Cir.


1983).


II. Discussion


      Defendant first objects that the magistrate judge erred in concluding that


reasonable suspicion was a valid basis to stop the vehicle he was driving.       This


Court agrees with the magistrate judge and finds that based on surveillance the


experienced narcotics officers conducted, they had reasonable suspicion to believe


Defendant had engaged in a criminal drug transaction with Olga Ramirez, which


gave them a basis to conduct an investigatory traffic stop of Defendant's vehicle.



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Thus, this Court overrules Defendant's objection here, and finds that the officers did

                           1
conduct a valid Terry stop.


        It follows that based on the officers' valid Terry stop, they legitimately


employed the investigative technique of using a drug-detecting dog to sniff for


narcotics in Defendant's car. Defendant's second objection is therefore overruled as


well.


III. Conclusion

        Based on the foregoing, this Court finds that the magistrate judge's factual


and     legal    conclusions    are     correct.       Accordingly   the   Court   OVERRULES


Defendant's Objections and ADOPTS the R&R as the Opinion and Order of this


Court and DENIES Defendant's Motion to Suppress Seizure and Search [Doc. 237].




        SO ORDERED, this           l.E_lfay of January, 2017.


                                                         Eleanor L. Ross
                                                         United States District Judge
                                                         Northern District of Georgia




1 Terry v.   Ohio, 392 U.S. 1 (1968).

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